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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

IN RE: AQUEOUS FILM-FORMING FOAMS PRODUCTS                         MDL No.
LIABILITY LITIGATION                                               2:18-mn-2873-RMG
                                                               )
                                                               )
TOWN OF WEST SPRINGFIELD                                           2:23-cv-02560-RMG
                                                               )
               Plaintiff,                                      )
                                                               )
                                                               )   COMPLAINT
-vs -                                                          )
                                                               )
THE 3M COMPANY, f/k/a Minnesota Mining and
Manufacturing Co.;                                             )   Jury Trial Demanded
AGC CHEMICALS AMERICAS INC.;                                   )
AMEREX CORPORATION;                                            )
ARKEMA INC.;                                                   )
ARCHROMA U.S. INC.;                                            )
BASF CORPORATION, individually and as successor in
                                                               )
interest to Ciba Inc.;
BUCKEYE FIRE EQUIPMENT COMPANY;                                )
CARRIER FIRE & SECURITY AMERICAS                               )
CORPORATION, f/k/a UTC Fire & Security Americas                )
Corporation;                                                   )
CARRIER FIRE & SECURITY CORPORATION, f/k/a                     )
UTC Fire & Security Corporation;                               )
CARRIER GLOBAL CORPORATION;
                                                               )
CHEMDESIGN PRODUCTS INC.;
CHEMGUARD INC.;                                                )
CHEMICALS, INC.;                                               )
CLARIANT CORPORATION, individually and as successor            )
in interest to Sandoz Chemical Corporation;                    )
CORTEVA, INC., individually and as successor in interest to    )
DuPont Chemical Solutions Enterprise;                          )
DEEPWATER CHEMICALS, INC.;
                                                               )
DUPONT DE NEMOURS INC., individually and as
successor in interest to DuPont Chemical Solutions             )
Enterprise;                                                    )
DYNAX CORPORATION;                                             )
E. I. DUPONT DE NEMOURS AND COMPANY,                           )
individually and as successor in interest to DuPont Chemical   )
Solutions Enterprise;
                                                               )
NATION FORD CHEMICAL COMPANY;
NATIONAL FOAM, INC.;                                           )
                                                               )
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 THE CHEMOURS COMPANY, individually and as                     )
 successor in interest to DuPont Chemical Solutions            )
 Enterprise;                                                   )
 THE CHEMOURS COMPANY FC, LLC, individually and
                                                               )
 as successor in interest to DuPont Chemical Solutions
 Enterprise;                                                   )
 TYCO FIRE PRODUCTS, LP, individually and as successor         )
 in interest to The Ansul Company;                             )
 JOHN DOE DEFENDANTS 1-20,                                     )

               Defendants.



                    COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff TOWN OF WEST SPRINGFIELD (“Plaintiff”), by and through its undersigned

counsel, hereby files this Complaint against Defendants, 3M COMPANY, f/k/a Minnesota Mining

and Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX CORPORATION,

ARKEMA INC., ARCHROMA U.S. INC., BASF CORPORATION, BUCKEYE FIRE

EQUIPMENT COMPANY, CARRIER FIRE & SECURITY AMERICAS CORPORATION,

CARRIER FIRE & SECURITY CORPORATION, CARRIER GLOBAL CORPORATION,

CHEMDESIGN PRODUCTS INC., CHEMGUARD INC., CHEMICALS, INC., CLARIANT

CORPORATION, CORTEVA, INC., DEEPWATER CHEMICALS, INC., DUPONT DE

NEMOURS INC., DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND

COMPANY, NATION FORD CHEMICAL COMPANY, NATIONAL FOAM, INC., THE

CHEMOURS COMPANY, THE CHEMOURS COMPANY FC, LLC, and TYCO FIRE

PRODUCTS, LP, and DOE DEFENDANTS 1-20, fictitious names whose present identifies are

unknown (collectively “Defendants”) and alleges, upon information and belief, as follows:

                                     INTRODUCTION

       1.     This action arises from the foreseeable contamination of groundwater by the use of

aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

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substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

(“PFOA”).

           2.   PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

liquids.

           3.   PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

associated with multiple and significant adverse health effects in humans, including but not limited

to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

pregnancy-induced hypertension.

           4.   At various times from the 1950s through today, Defendants designed,

manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

fluorosurfactants and/or poly- and perfluorinated chemicals contained in AFFF (collectively,

“AFFF/Component Products”).

           5.   Defendants    designed,    manufactured,     marketed,     distributed,   and/or   sold

AFFF/Component Products despite knowing that PFAS are toxic, persist indefinitely, and would

be routinely released into the environment during fire protection, training, and response activities,

even when used as directed and intended by Defendants.

           6.   Since its creation in the 1960s, AFFF designed, manufactured, marketed,

distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs



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designed, manufactured, marketed, distributed, and/or sold by Defendants, was sold to the military,

fire departments or airports such as the Westfield-Barnes Reginal Airport (“WBRA”) also known

as Barnes Air National Guard Base, West Springfield Fire Department (“WSFD”), Agawam Fire

Department (“AFD”), City of Westfield Fire Department (“CWFD”) and its fire stations which

used it as directed and intended by Defendants, and subsequently released it into the environment

during fire protection, training, and response activities, resulting in widespread PFAS

contamination.

       7.        Plaintiff is the owner and operator of a water system serving approximately 28629

residents located in and around the Town of West Springfield, Massachusetts.

       8.        Plaintiff’s system draws the drinking water it provides to customers from four

groundwater wells.

       9.        Plaintiff has detected PFAS in its groundwater wells.

       10.       On information and belief, the PFAS contamination described above is a direct and

proximate result of fire protection, training, and response activities at WBRA, WSFD, AFD and

CWFD resulting in the migration of PFAS into Plaintiff’s water supply.

       11.       In order to ensure that it can continue to provide clean and safe water to residences,

Plaintiff has and will continue to take actions to address the above contamination of its property

and its potable water supply caused by the Defendants.

       12.       Such actions include but are not limited to additional testing and monitoring for

PFAS; planning, designing, purchasing, installing, and maintaining water filtration systems to

remove these chemicals; infrastructure modifications; contingency planning; and community

outreach.




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        13.     Due to the persistent and long-term nature of PFAS contamination, Plaintiff is

expected to suffer damages and incur the costs associated with these and other ongoing necessary

remedial actions for many years to come.

        14.     Through this action, Plaintiff seeks compensatory damages for the harm done to its

property and the costs associated with investigating, remediating, and monitoring its drinking

water supplies contaminated with PFAS due to the use of AFFF at WBRA, WSFD, AFD and

CWFD.

                                  JURISDICTION AND VENUE

        15.     Pursuant to this Court’s Case Management Order No. 3, this Complaint is filed as

an original action in the United States District Court for the District of South Carolina.

        16.     This Court has subject matter jurisdiction over the Defendants pursuant to 28

U.S.C. §1332(a), in that this action seeks monetary relief in excess of the sum or value of $ 75,000,

exclusive of interest, and there is complete diversity between the parties.

        17.     Plaintiff is a citizen of the State of Massachusetts and complete diversity of

citizenship exists between Plaintiff and Defendants.

        18.     Pursuant to 28 U.S.C. § 1391, Plaintiff's Home Venue is the United States District

Court for the District of Massachusetts.

        19.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

regular and systematic contacts with Massachusetts, including, among other things, purposefully

marketing, selling and/or distributing their AFFF/Component Products to and within

Massachusetts, and because they have the requisite minimum contacts with Massachusetts

necessary to constitutionally permit the Court to exercise jurisdiction over them consistent with

traditional notions of fair play and substantial justice.



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                                            PARTIES

        A.      Plaintiff

        20.     Plaintiff is a municipal corporation organized under the laws of the State of

Massachusetts, with its principal place of business located at 26 Central Street, Suite 32 West

Springfield MA 01089.

        B.      Defendants

        21.     The term “Defendants” refers to all Defendants named herein jointly and severally.

                  i.   The AFFF Defendants

        22.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

Amerex Corporation, Buckeye Fire Equipment Company, Carrier Fire & Security Americas

Corporation, Carrier Fire & Security Corporation, Carrier Global Corporation, Chemguard Inc.,

National Foam, Inc.., and Tyco Fire Products L.P.

        23.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

(“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

        24.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

        25.     Defendant Amerex Corporation (“Amerex”) is a corporation organized and

existing under the laws of the State of Alabama, with its principal place of business located at 7595

Gadsden Highway, Trussville, AL 35173.

        26.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

manufacturer of hand portable and wheeled extinguishers for commercial and industrial

applications.

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         27.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

manufacturers of AFFF products in Europe.

         28.     On information and belief, beginning in 2011, Amerex designed, manufactured,

marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

         29.     Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

under the laws of the State of Delaware, with its principal place of business located at One Stanton

Street, Marinette, Wisconsin 54143-2542.

         30.     Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

Ansul in 1990.

         31.     Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

         32.     After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

and PFOS.

         33.     Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

the laws of the State of Texas, with its principal place of business located at One Stanton Street,

Marinette, Wisconsin 54143.

         34.     On information and belief, Chemguard designed, manufactured, marketed,

distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

PFOS.

         35.     On information and belief, Chemguard was acquired by Tyco International Ltd. in

2011.



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       36.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

organized under the laws of the State of Ohio, with its principal place of business located at 110

Kings Road, Kings Mountain, North Carolina 28086.

       37.     On information and belief, Buckeye designed, manufactured, marketed, distributed,

and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

       38.     Defendant National Foam, Inc. (“National Foam”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business located at 141 Junny

Road, Angier, North Carolina 27501.

       39.     Beginning in or around 1973, National Foam designed, manufactured, marketed,

distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

       40.     On information and belief, National Foam currently manufactures the Angus brand

of AFFF products and is a subsidiary of Angus International Safety Group.

       41.     On information and belief, National Foam merged with Chubb Fire Ltd. to form

Chubb National Foam, Inc. in or around 1988.

       42.     On information and belief, Chubb is or has been composed of different subsidiaries

and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC,

Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc. (collectively referred to as

“Chubb”).

       43.     On information and belief, Chubb was acquired by Williams Holdings in 1997.

       44.     On information and belief, Angus Fire Armour Corporation had previously been

acquired by Williams Holdings in 1994.

       45.     On information and belief, Williams Holdings was demerged into Chubb and Kidde

P.L.C. in or around 2000.



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       46.     On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

became the successor in interest to National Foam System, Inc. and Angus Fire Armour

Corporation.

       47.     On information and belief, Kidde P.L.C. was acquired by United Technologies

Corporation in or around 2005.

       48.     On information and belief, Angus Fire Armour Corporation and National Foam

separated from United Technologies Corporation in or around 2013.

       49.     Defendant Carrier Fire & Security Americas Corporation (“Carrier F&S

Americas”) is a corporation organized under the laws of the State of Delaware, with its principal

place of business at 13995 Pasteur Blvd, Palm Beach Gardens, Florida 33418-7231.

       50.     On information and belief, Kidde-Fenwal, Inc. was an operating subsidiary of

Kidde P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United

Technologies Corporation. Kidde-Fenwal, Inc. was also the entity that divested the AFFF business

unit now operated by National Foam in 2013.

       51.     On May 14, 2023, Kidde-Fenwal, Inc. filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101—1532, in the United

States Bankruptcy Court for the District of Delaware.

       52.     In its voluntary petition, Kidde-Fenwal, Inc. identified Kidde Fire Protection, Inc.,

a holding company organized under the laws of the State of Delaware, as its parent company and

the owner of 100% of its common stock.

       53.     On information and belief, Kidde Fire Protection, Inc. is a wholly owned subsidiary

of Carrier F&S Americas, making Carrier F&S Americas the indirect owner of Kidde-Fenwal, Inc.

via a holding company.



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       54.     Defendant Carrier Fire & Security Corporation (“Carrier F&S”) is a

corporation organized under the laws of the State of Delaware, with its principal place of business

at 13995 Pasteur Blvd, Palm Beach Gardens, Florida 33418-7231.

       55.     On information and belief, Carrier F&S Americas is a wholly owned subsidiary of

Kidde US Holdings Inc., a holding company organized under the laws of the State of Delaware.

       56.     On information and belief, Kidde US Holdings Inc. is a wholly owned subsidiary

of Carrier F&S, making Carrier F&S the indirect owner of Carrier F&S Americas via a holding

company.

       57.     Defendant Carrier Global Corporation (“Carrier Global”) is a corporation

organized under the laws of the State of Delaware, with its principal place of business at 13995

Pasteur Boulevard, Palm Beach Gardens, Florida 33418.

       58.     On information and belief, Carrier Global was formed in March 2020 when United

Technologies Corporation spun off its fire and security business before it merged with Raytheon

Company in April 2020.

       59.     On information and belief, UTC Fire & Security Americas Corporation and UTC

Fire & Security Corporation became subsidiaries of Carrier Global when United Technologies

Corporation spun off its fire and security business in March 2020.

       60.     In September 2020, UTC Fire & Security Americas Corporation and UTC Fire &

Security Corporation changed their names to Carrier Fire & Security Americas Corporation and

Carrier Fire & Security Corporation, respectively.

       61.     On information and belief, Carrier Global became the ultimate corporate parent and

owner of Kidde-Fenwal, Inc., Kidde Fire Protection, Inc., Carrier F&S Americas, Kidde US




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Holdings, Inc., and Carrier F&S when United Technologies Corporation spun off its fire and

security business in March 2020.

       62.     On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

precursors that were stored, handled, used, trained with, tested equipment with, otherwise

discharged, and/or disposed at WBRA, WSFD, AFD and CWFD.

                ii.   The Fluorosurfactant Defendants

       63.     The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M, ,

Arkema Inc., BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc.,

Deepwater Chemicals, Inc., E.I. DuPont de Nemours and Company, The Chemours Company, The

Chemours Company FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

       64.     Defendant Arkema Inc. is a corporation organized and existing under the laws of

Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

       65.     Arkema Inc. develops specialty chemicals and polymers.

       66.     Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

       67.     On information and belief, Arkema Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       68.     Defendant BASF Corporation (“BASF”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 100 Park Avenue,

Florham Park, New Jersey 07932.

       69.     On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a

Ciba Specialty Chemicals Corporation).



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       70.    On information and belief, Ciba Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       71.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

organized under the laws of Delaware, with its principal place of business located at 2 Stanton

Street, Marinette, WI, 54143.

       72.    On information and belief, ChemDesign designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       73.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

under the laws of Delaware, with its principal place of business located at 196122 E County Road

40, Woodward, OK, 73801.

       74.    On information and belief, Deepwater Chemicals designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products.

       75.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

Drive, Elmsford, New York 10523.

       76.    On information and belief, Dynax entered into the AFFF market on or about 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

containing PFOS, PFOA, and/or their chemical precursors.




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       77.     On information and belief, Dynax designed, manufactured, marketed, distributed,

and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

chemical precursors for use in AFFF products.

       78.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

organized under the laws of the State of Delaware, with its principal place of business located at

974 Centre Road, Wilmington, Delaware 19805.

       79.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

company organized under the laws of the State of Delaware, with its principal place of business

located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

       80.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

along with vast environmental liabilities which Chemours Co. assumed, including those related to

PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

of AFFF products.

       81.     On information and belief, Chemours Co. was incorporated as a subsidiary of

DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly owned

subsidiary of DuPont.

       82.     In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

“performance chemicals” business line, which includes its fluoroproducts business, distributing

shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

independent, publicly traded company.




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       83.        Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

liability company organized under the laws of the State of Delaware, with its principal place of

business located at 1007 Market Street, Wilmington, Delaware, 19899.

       84.        Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

Delaware 19805.

       85.        Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

Way, Midland, Michigan 48674.

       86.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

off of Corteva.

       87.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

Corteva was a wholly owned subsidiary of DowDuPont.

       88.        On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

       89.        Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

agriculture and nutritional businesses.

       90.        On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines




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following the above-described spin-offs, as well as the balance of the financial assets and liabilities

of E.I DuPont not assumed by Corteva.

       91.     Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

referred to as “DuPont” or the “DuPont Defendants” throughout this Complaint.

       92.     On information and belief, DuPont designed, manufactured, marketed, distributed,

and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

AFFF products.

       93.     On information and belief, 3M and Chemguard also designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products.

       94.     On information and belief, the Fluorosurfactant Defendants                    designed,

manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

tested equipment with, otherwise discharged, and/or disposed at WBRA, WSFD, AFD and CWFD.

                 iii.   The PFC Defendants

       95.     The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

Chemical Company.

       96.     Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

Avenue, Suite 201, Exton, PA 19341.
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       97.     On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

principal place of business in Tokyo, Japan.

       98.     AGC manufactures specialty chemicals. It offers glass, electronic displays, and

chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

and various fluorointermediates.

       99.     On information and belief, AGC designed, manufactured, marketed, distributed,

and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

the fluorosurfactants used in AFFF products.

       100.    Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

Charlotte, North Carolina 28217.

       101.    On information and belief, Archroma was formed in 2013 when Clariant

Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

Partners.

       102.    On information and belief, Archroma designed, manufactured, marketed,

distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       103.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

Baytown, TX 77520.




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       104.   On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

AFFF products.

       105.   Defendant Clariant Corporation (“Clariant”) is a corporation organized and

existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

Charlotte, North Carolina 28205.

       106.   On information and belief, Clariant is the successor in interest to the specialty

chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

Sandoz spun off its specialty chemicals business to form Clariant in 1995.

       107.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

       108.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

organized and existing under the laws of South Carolina, with its principal place of business

located at 2300 Banks Street, Fort Mill, SC 29715.

       109.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

products.

       110.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       111.   On information and belief, the PFC Defendants supplied PFCs containing PFOS,

PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in




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AFFF products that were stored, handled, used, trained with, tested equipment with, otherwise

discharged, and/or disposed at WBRA, WSFD, AFD and CWFD.

                iv.    Doe Defendants 1-20

       112.    Doe Defendants 1-20 are unidentified entities or persons whose names are presently

unknown and whose actions, activities, omissions         (a) may have permitted, caused and/or

contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may be

vicariously responsible for entities or persons who permitted, caused and/or contributed to the

contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

entities or persons who permitted, caused and/or permitted , contributed to the contamination of

Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain the

Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff as

they are not linked with any of the Defendants on any public source.

       113.    The Doe Defendants 1-20 either in their own capacity or through a party they are

liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

marketed, distributed, and/or sold the fluorosurfactants and/or               PFCs contained in

AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

precursors; or (3) failed to timely perform necessary and reasonable response and remedial

measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

products containing PFOS, PFOA, and/or their chemical precursors in to the environment in which

Plaintiff’s water supplies and well exist.



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       114.    All Defendants, at all times material herein, acted by and through their respective

agents, servants, officers and employees, actual or ostensible, who then and there were acting

within the course and scope of their actual or apparent agency, authority or duties. Defendants are

liable based on such activities, directly and vicariously.

       115.    Defendants represent all or substantially all of the market for AFFF/Component

Products used at WBRA, WSFD, AFD and CWFD.

         FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

       A.      PFOA and PFOS and Their Risk to Public Health

       116.    PFAS are chemical compounds containing fluorine and carbon. These substances

have been used for decades in the manufacture of, among other things, household and commercial

products that resist heat, stains, oil, and water. These substances are not naturally occurring and

must be manufactured.

       117.    The two most widely studied types of these substances are PFOA and PFOS.

       118.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

persistent, meaning that they readily spread into the environment where they break down very

slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

humans and animals.

       119.    PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

into groundwater, where they can travel significant distances.

       120.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,



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chemically, and biologically stable. They resist degradation due to light, water, and biological

processes.

        121.      Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

the concentration of a substance in the tissues of organisms increases as the substance travels up

the food chain.

        122.      PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

        123.      PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

humans eat fish that have ingested PFOA and/or PFOS.

        124.      The chemical structure of PFOA and PFOS makes them resistant to breakdown or

environmental degradation. As a result, they are persistent when released into the environment.

        125.      Exposure to PFAS is toxic and poses serious health risks to humans and animals.

        126.      PFAS are readily absorbed after consumption or inhalation and accumulate

primarily in the bloodstream, kidney, and liver.

        B.        Defendants’ Manufacture and Sale of AFFF/Component Products

        127.      AFFF is a type of water-based foam that was first developed in the 1960s to

extinguish hydrocarbon fuel-based fires.

        128.      AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

        129.      AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous
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film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

and is the source of the designation aqueous film-forming foam.

       130.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

or the chemical precursors that degrade into PFOS and PFOA.

       131.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

PFOS, and/or their precursor chemicals into the environment.

       132.    AFFF that contains fluorosurfactants, however, is better at extinguishing

hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

smothering the fire and starving it of oxygen.

       133.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

patented process of electrochemical fluorination (“ECF”).

       134.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

       135.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

manufactured, marketed, distributed and/or sold by the PFC Defendants.

       136.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

sold by the AFFF Defendants.




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       137.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

AFFF products discharged into the environment during fire protection, training, and response

activities conducted at WBRA, WSFD, AFD and CWFD, resulting in widespread PFAS

contamination.

       138.      On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and/or sold the AFFF products discharged into the environment during fire

protection, training, and response activities conducted at WBRA, WSFD, AFD and CWFD,

resulting in widespread PFAS contamination.

       C.        Defendants’ Knowledge of the Threats to Public Health and the Environment
                 Posed by PFOS and PFOA

       139.      On information and belief, by at least the 1970s 3M and DuPont knew or should

have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

and toxic.

       140.      On information and belief, 3M and DuPont concealed from the public and

government agencies its knowledge of the threats to public health and the environment posed by

PFOA and PFOS.

       141.      Some or all of the Defendants understood how stable the fluorinated surfactants

used in AFFF are when released into the environment from their first sale to a customer, yet they

failed to warn their customers or provide reasonable instruction on how to manage wastes

generated from their products.

                   i.   1940s and 1950s: 3M, DuPont, and the Development of a Toxic Chemical
                        Family

       142.      The development of this family of chemical compounds began with Defendant 3M

in the 1940s. At that time, 3M’s Central Research Laboratory was working with a scientist at Penn

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State University, Joseph H. Simons, who had developed and patented a process of preparing

fluorine compounds through electrochemical fluorination (“ECF”). In 1945, 3M acquired Simons’

ECF patents. It would be another three years before 3M’s Central Research developed fluorinated

compounds that could be used for commercial applications. During that time, 3M scientists

continuously researched and created new fluorochemicals; in the words of one researcher,

“[a]lmost every day we made a new molecule which had never been on the face of the earth

before.”1

       143.    From the early days of its fluorochemical research, 3M recognized the very

characteristics that make PFAS persistent pollutants in the environment today. For example,

Simons’ 1948 patent for the ECF process, which was assigned to 3M, stated that the compounds

produced through ECF are non-corrosive, and of little chemical reactivity, and do not react with

any of the metals at ordinary temperatures and react only with the more chemically reactive metals

such as sodium, at elevated temperatures.2 The patent also stated that the fluorochemicals produced

by the ECF process do not react with other compounds or reagents due to the blanket of fluorine

atoms surrounding the carbon skeleton of the molecule. 3M understood that the stability of the

carbon-to-fluorine bonds prevented its fluorosurfactants from undergoing further chemical

reactions or degrading under natural processes in the environment.3

       144.    3M was also aware of the thermal stability of is fluorinated compounds prior to

commercial production. Simons’ ECF patent application states that the compounds produced by



1
 Neil McKay, A Chemical History of 3M: 1933-1990.
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1365.pdf
2
 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
3
 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf .

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the ECF process were thermally stable at temperatures up to 750° C (1382º F). Additional research

by 3M expanded its understanding of the thermal stability of fluorinated compounds.4

       145.    In 1949, 3M built the first manufacturing facility to expand ECF from laboratory

research to commercial production, and it began to present its fluorochemical research in order to

find potential uses and customers for the compounds it was manufacturing.

       146.    3M soon found a customer: DuPont. In 1951, DuPont began purchasing a

perfluorinated carboxylic acid (perfluorooctanoic acid or PFOA), for use in manufacturing a non-

stick coating called Teflon.

       147.    Even then, 3M’s research had already documented that PFAS accumulate in the

blood of mice exposed to the chemicals in laboratory tests.5 Also, a 1956 study by researchers at

Stanford University found that PFAS bind to proteins in human blood.6

       148.    In 1964, a group of DuPont employees working in Teflon manufacturing became

sick after their department was moved to a more enclosed workspace.7 They experienced chills,

fever, difficulty breathing, and a tightness in the chest—symptoms referred to variously as

“polymer-fume fever,” “Teflon flu,” or simply, “the shakes.” Polymer-fume fever was first

reported in medical literature in 1951.




4 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry,
1(13): 423-462.
5
  1950 3M test study results with Perfluorobutyric acid, available at
https://static.ewg.org/reports/2019/pfa-
timeline/1950_Mice.pdf?_ga=2.21758526.426747500.1673645134-2012946541.1673645134.
6
  Perfluorooctanoic Acid Interactions with Human Serum Albumin, available at
https://static.ewg.org/reports/2019/pfa-
timeline/1956_Stanford.pdf?_ga=2.59569645.1994765108.1678715813-813372143.1678715813.
7
 Charles E. Lewis and Gerald R. Kerby, An Epidemic of Polymer-Fume Fever, 191 JAMA 375 (February
1, 1965).

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                  ii.   1960s: AFFF’s Environmental Hazards Come Into Focus

        149.    By at least the end of the 1960s, additional research and testing performed by 3M

and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

chemical structure, were resistant to environmental degradation and would persist in the

environment essentially unaltered if allowed to enter the environment.

        150.    One 3M employee wrote in 1964, “This chemical stability also extends itself to all

types of biological processes; there are no known biological organisms that are able to attack the

carbon-fluorine bond in a fluorocarbon.”8            Thus, 3M knew by the mid-1960s that its

fluorosurfactants were immune to chemical and biological degradation in soils and groundwater.

        151.    3M also knew by 1964 that fluorocarbon carboxylic acids and fluorocarbon sulfonic

acids, when dissolved, dissociated to form highly stable perfluorocarboxylate and

perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 (the

potassium salt of PFOS) and FC-143 (the ammonium salt of PFOA) in soils indicated very high

solubility and very high mobility in soils for both compounds.9

        152.    Also, in a 1965 study sponsored by DuPont where rats were fed a PFAS compound

over a ninety-day period the rats had liver damage and an showed an increased size in the spleen.

        153.    Despite early warnings of the toxic, persistent, and bioaccumulative nature of PFOS

and PFOA, these chemicals began to be used in a product that would be released in large quantities

directly into the environment whenever used: firefighting foam.




8
 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
9
  Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.

                                                   25
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       154.    AFFF was first developed in the 1960s as a result of the U.S. Navy’s research into

the use of fluorosurfactants in firefighting foam to extinguish fuel-based shipboard fires.

       155.    In 1969, the Navy promulgated a military standard or “MilSpec” requiring

contractors to use “fluorocarbon surfactants” in firefighting foam products. Since then, the Navy

has revised this MilSpec multiple times, but at no time did the Navy specify the specific

fluorosurfactants to be used in AFFF. The AFFF MilSpec was a “performance specification,”

meaning that the product manufacturers were given great flexibility with respect to designing a

product that would meet the military’s performance requirements.

       156.    Firefighting foam can be made without the fluorosurfactants that contain PFOA,

PFOS, and/or their precursor chemicals.

       157.    When the Navy first promulgated the AFFF MilSpec, hundreds of different

fluorosurfactants had already been created.

       158.    Nonetheless, beginning in the 1960s, the AFFF Defendants designed,

manufactured, marketed, distributed, and/or sold AFFF products that used fluorosurfactants

containing either PFOS, PFOA, or the chemical precursors that degrade into PFOS and PFOA.

       159.    From the late 1960s to 2002, Defendant 3M manufactured and sold AFFF

containing PFOS under the brand name “Light Water.”

       160.    Because 3M held the patents on the ECF process, other AFFF Defendants utilized

PFAS produced through a different process, called fluorotelomerization. These fluorotelomer

AFFF formulations were produced beginning in the 1970s. Although they are not made with

PFOA, they contain precursors—polyfluorinated compounds that are known to degrade to

compounds that include PFOA.




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        161.     On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and/or sold the AFFF products discharged into the environment during fire

protection, training, and response activities conducted at WBRA, WSFD, AFD and CWFD,

resulting in widespread PFAS contamination.

        162.     The AFFF Defendants treated their foam formulations as proprietary information

and did not disclose the specific chemical ingredients of their formulations to government agencies

or the public.

        163.     Some or all of the Defendants understood how stable the fluorinated surfactants

used in AFFF are when released into the environment from their first sale to a customer, yet they

failed to warn their customers or provide reasonable instruction on how to manage wastes

generated from their products.

                  iii.   1970s -1980s: Defendants Deepening Knowledge of the Risks of PFOA
                         and PFOS

        164.     By at least the 1970s, as Defendants expanded the market for AFFF formulations

containing PFOA and PFOS, 3M and DuPont knew or should have known that PFOA and PFOS

are mobile and persistent, bioaccumulative and biomagnifying, and toxic.

        165.     During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

accumulated in the human body and were “even more toxic” than previously believed.

        166.     An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

sink’ for fluorocarbons obviously demands some attention.”10 But if 3M did give this issue the

attention demanded at this time, it did not share it with the public.




10
  Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.

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          167.    In 1975, two independent toxicologists, Dr. Warren Guy and Donald Taves,

discovered that an unidentified fluorine compound had been found in human blood sampled from

different blood banks. Dr. Guy contacted 3M to ask if it knew of “possible sources” of the

chemicals.11 3M’s scientists concluded internally that the fluorine compounds resembled PFOS

manufactured by 3M, but 3M did not share this conclusion with the independent toxicologists or

anyone else outside of 3M.

          168.    3M did, however, test the blood of its own workers in 1976, finding “up to 1000

times ‘normal’ amounts of organically bound fluorine in their blood.”12

          169.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

understanding of the persistent nature of PFCs.        A 1976 study, for example, observed no

biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

fluorinated.”13

          170.    In 1977, Ansul, the AFFF manufacturer later acquired by Defendant Tyco, authored

a report titled “Environmentally Improved AFFF,” which acknowledged that releasing AFFF into

the environment could pose potential negative impacts to groundwater quality.14 Ansul wrote:

“The purpose of this work is to explore the development of experimental AFFF formulations that

would exhibit reduced impact on the environment while retaining certain fire suppression




11
 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
12
  3M Chronology – Fluorochemicals in Blood, Aug. 26, 1977, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
13
     Technical Report Summary, August 12, 1976 [3MA01252037].
14
  Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.

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characteristic . . . improvements [to AFFF formulations] are desired in the environmental area, i.e.,

development of compositions that have a reduced impact on the environment without loss of fire

suppression effectiveness.” Thus, Ansul knew by the mid-1970s that the environmental impact of

AFFF needed to be reduced, yet there is no evidence that Ansul (or any other Defendant) ever

pursued initiatives to do so.

        171.   A 1978 3M biodegradation study likewise reported that an “extensive study

strongly suggest[ed]” one of its PFAS was “likely to persist in the environment for extended period

unaltered by metabolic attack.”15 A year later, a 3M study reported that one of its fluorosurfactants

“was found to be completely resistant to biological test conditions,” and that it appeared waterways

were the fluorosurfactant’s “environmental sink.”16

        172.   At the same time, several studies sponsored by 3M showed that the

fluorosurfactants used in AFFF were even more toxic than previously believed. A study of subacute

toxicity in rhesus monkeys, in which the monkeys were to be given doses of PFOS over ninety

days, had to be redesigned and repeated “[b]ecause of unexpected early mortalities in all monkeys

at all levels.”17 None of the monkeys survived past twenty days. As a summary of the study stated,

PFOS “proved to be considerably more toxic to monkeys than anticipated[.]” In addition, PFOA



15
  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - II, Jan. 1, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
16
  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - III, July 19, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
17
  Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study,
Jan. 2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf; FC-95,
FC-143 and FM-3422 – 90 Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports
and Summary, available at https://static.ewg.org/reports/2019/pfa-
timeline/1977_Most%20Toxic.pdf?_ga=2.34744996.426747500.1673645134-2012946541.1673645134.

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reduced the survival rate of fathead minnow fish eggs,18 and PFOS and PFOA were shown to be

toxic to rats.19 As the summary documented observed, “[b]ecause of the apparent persistence of these

fluorochemicals in the body, the most important question remains possible long term effects.”20

          173.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

covering investigations between 1975 and 1978.21 More than a decade after 3M began selling

AFFF containing fluorosurfactants it wrote, “there has been a general lack of knowledge relative

to the environmental impact of these chemicals.” The report ominously asked, “If these materials

are not biodegradable, what is their fate in the environment?”22

          174.    In 1979, 3M and DuPont discussed 3M’s discovery of high levels of PFOS in the

blood of its workers. Both companies came to the same conclusion that there: was “no reason” to

notify the EPA of the finding.23 3M told the EPA in 1980 only that it had discovered PFOS in the

blood of “some of our plant employees.”




18
  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
Survival of Fry of Fathead Minnow, June 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
19
  Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90
Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20,
1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
20
     Id. (FC-95, FC-143 and FM-3422 – 90 Day Subacute Toxicity Studies Conducted at IRDC – Review of
Final Reports and Summary, Mar. 20, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.)
21
  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
22
   3M Internal Correspondence from R. Howell to C. Olsen re: Fluorochemicals in the Environment with
attachments, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1372.pdf.
23
  Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
Fluorochemicals in Blood, July 26, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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          175.    By at least the end of the 1980s, additional research and testing performed by

Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

and other adverse health effects, including elevated liver enzymes and birth defects, had been

observed among workers exposed to such materials, including at least PFOA, but such data was

not published, provided to governmental entities as required by law, or otherwise publicly

disclosed at the time.

          176.    In 1981, DuPont tested for and found PFOA in the blood of female plant workers

at its Washington Works plant in Parkersburg, West Virginia, where it had been using 3M’s

PFOA to manufacture Teflon since 1951. DuPont observed and documented pregnancy outcomes

in exposed workers, finding two of seven children born to female plant workers between 1979

and 1981 had birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and

eye defect.24

          177.    In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

for environmental safety,” including “legitimate questions about the persistence, accumulation

potential, and ecotoxicity of fluorochemicals in the environment.”25 That same year, 3M completed

a study finding that PFOS caused the growth of cancerous tumors in rats.26 This finding was later

shared with DuPont and led them to consider whether “they may be obliged under their policy to

call FC-143 a carcinogen in animals.”27



24
     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
25
  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
26
   Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of
4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
27
  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.

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        178.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

workers, leading one of the company’s medical officers to warn in an internal memo: “we must

view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

body.”28

        179.    The same year, DuPont tested drinking water near its Washington Works plant and

found elevated PFOA levels in the water, but, after deciding that limiting PFOA discharge from the

plant would not be “economically attractive,” it did nothing to reduce contamination from the plant.

                 iv.   1990s-2000s: With 3M and DuPont Under Scrutiny, the AFFF Market
                       Shifts to Telomerization

        180.    Federal law requires chemical manufacturers and distributors to immediately notify

the EPA if they have information that “reasonably supports the conclusion that such substance or

mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e).

        181.    Despite its decades of research, 3M waited until May 1998 to submit a report to the

EPA under TSCA Section 8(e). Even in that submission, however, 3M downplayed what it knew,

according to a former employee:

         Just before that submission we found PFOS in the blood of eaglets—eaglets still young
enough that their only food consisted of fish caught in remote lakes by their parents. This finding
indicates a widespread environmental contamination and food chain transfer and probable
bioaccumulation and bio-magnification. This is a very significant finding that the 8(e) reporting
rule was created to collect. 3M chose to report simply that PFOS had been found in the blood of
animals, which is true but omits the most significant information.29



28
  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.
29
  Letter from R. Purdy, Mar. 28, 1999, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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          182.   Although 3M acknowledged, in 1998, the presence of PFOS in the blood of the

general population, it insisted that it did not “believe that any reasonable basis exists to conclude

that PFOS ‘presents a substantial risk of injury to health or the environment.’” Internally, the

message was quite different: 3M’s Manager of Corporate Toxicology advised the company to

replace “PFOS-based chemistry as these compounds [are] VERY persistent and thus insidiously

toxic.”

          183.   In 2000, 3M, after half a century of manufacturing fluorinated chemicals through

ECF, announced that it would phase out its production of several long-chain PFAS compounds,

including PFOA, although it continued to manufacture other PFAS chemicals.

          184.   In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

regarding PFOS, PFOA, and other fluorinated compounds, dating back decades.

          185.   Likewise, in December 2005, the EPA announced it was imposing the “Largest

Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

it violated the TSCA by concealing the environmental and health effects of PFOA.

          186.   On information and belief, Defendants knew or should have known that AFFF

containing PFOA or PFOS would very likely injure and/or threaten public health and the

environment, even when used as intended or directed.

          187.   Defendants failed to warn of these risks to the environment and public health,

including the impact of their AFFF/Component Products on the quality of unprotected water

sources.

          188.   Defendants were all sophisticated and knowledgeable in the art and science of

designing, formulating, and manufacturing AFFF/Component Products. They understood far



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more about the properties of their AFFF/Component Products—including the potential hazards

they posed to human health and the environment—than any of their customers. Still, Defendants

declined to use their sophistication and knowledge to design safer products.

       D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
               Finally Revealed

       189.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

       190.    Despite decades of research, 3M first shared its concerns with EPA in the late

1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

found in the blood of animals, which is true but omits the most significant information,” according

to a former 3M employee.30

       191.    On information and belief, 3M began in 2000 to phase out its production of products

that contained PFOS and PFOA in response to pressure from the EPA.

       192.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

environmental and health effects associated with them, including a “C8 Science Panel” formed out

of a class action settlement arising from contamination from DuPont’s Washington Works located

in Wood County, West Virginia.

       193.    The C8 panel consisted of three epidemiologists specifically tasked with

determining whether there was a probable link between PFOA exposure and human diseases. In

2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,




30
  Id. Letter from R. Purdy, Mar. 28, 1999, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

hypercholesterolemia.

       194.    Human health effects associated with PFOS exposure include immune system

effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

system.

       195.    The injuries caused by PFAS can arise months or years after exposure.

       196.    Even after the C8 Science Panel publicly announced that human exposure to 50

parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

and represented to governmental entities, their customers, and the public (and continue to do so)

that the presence of PFOA in human blood at the levels found within the United States presents no

risk of harm and is of no legal, toxicological, or medical significance of any kind.

       197.    Furthermore, Defendants have represented to and assured such governmental

entities, their customers, and the public (and continue to do so) that the work of the independent

C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

effects upon and/or any risk to humans with respect to PFOA in human blood.

       198.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or



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risks associated therewith, effectively preventing the public from discovering the existence and

extent of any injuries/harm as alleged herein.

        E.      The Fire Fighting Foam Coalition

        199.    Following 3M’s phase-out of ECF production and its AFFF product, telomerization

emerged as the dominant manufacturing process for fluorosurfactants. 3M had been the dominant

manufacturer in the lucrative AFFF market, and multiple companies seized the opportunity created

by 3M’s withdrawal. But the market opportunity presented uncertainties, as it was unclear whether

regulators would view the telomer-based AFFF as posing the same hazards as 3M’s PFOS-

containing AFFF. The key question for regulators was whether the telomer-based AFFF would

degrade to PFOA once in the environment.

        200.    Defendants Tyco, Chemguard, Kidde, National Foam, and Buckeye formed a group

called the Fire Fighting Foam Coalition (“FFFC”) to protect their business opportunity and

advocate for the continued use of telomer-based AFFF. The FFFC declared that it would serve as

“a single source for accurate, balanced information on environment related questions” and would

“ensure that accurate information about PFOS alternatives, including telomer-based products, is

disseminated in the marketplace.”31 The FFFC made several representations regarding the safety

of telomer-based AFFF that were either misleading half-truths or were contrary to Defendants’

internal knowledge. For example, the FFFC assured the public that “telomer based AFFF does not

contain PFOS and cannot be oxidized or metabolized into PFOS.”32 This statement was true, but




31
   Fact Sheet on AFFF Fire Fighting Agents, available at https://static.ewg.org/reports/2020/pfas-
firefighter-timeline/2002-03-FFFC.pdf?_ga=2.136386352.1253861871.1649070681-
2123137255.1639662520.
32
   Id. Fact Sheet on AFFF Fire Fighting Agents, available at https://static.ewg.org/reports/2020/pfas-
firefighter-timeline/2002-03-FFFC.pdf?_ga=2.136386352.1253861871.1649070681-
2123137255.1639662520.

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only because PFOS was exclusively manufactured by 3M, and it did not mean that telomer-based

AFFF was any safer.

        201.    The FFFC also told the EPA in 2001 that telomer-based AFFF “does not contain

any PFOA-based product.”33 The issue, however, was whether telomer-based AFFF could degrade

into PFOA. One company executive admitted in an internal memo that his company’s AFFF “will

degrade in the environment” to produce PFOA and the “question is how toxic” and how

“bioaccumulative” these degraded products are.34 But contrary to this internal acknowledgment,

the FFFC publicly asserted that “telomer based fire fighting foams are not likely to be a source of

PFOA in the environment.”35

        202.    The EPA appointed a committee known as the Telomer Technical Workgroup to

make recommendations to the agency. The president of the FFFC represented the telomer-based

AFFF industry on the EPA committee. When, in 2003, the Telomer Technical Workgroup reported

its conclusions and recommendations, the FFFC president was the spokesperson.

        203.    In what the FFFC president called a “major victory” for the industry, the EPA

accepted the proposal of its Workgroup that “telomer-based fire fighting foams no longer be

considered as part of the PFOA ECA process.”36 The FFFC president remarked that “[w]hen we


33
   Id. Fact Sheet on AFFF Fire Fighting Agents, available at https://static.ewg.org/reports/2020/pfas-
firefighter-timeline/2002-03-FFFC.pdf?_ga=2.136386352.1253861871.1649070681-
2123137255.1639662520.
34
  In Re: Aqueous Film-Forming Foams Prods. Liab. Litig., 2:18-mn-02873-RMG:28, Email chain from
John Dowling to Anne Regina re: EPA meeting: Comments (Apr. 18, 2001) attached as an exhibit to
Plaintiffs’ Omnibus Opposition to Defendants’ Motion for Partial Summary Judgment on the Second and
Third Prongs of the Government Contractor Immunity Defense, ECF 2409-112.
35
  PFOA ECA Plenary Meeting, available at https://static.ewg.org/reports/2020/pfas-firefighter-
timeline/2003-Telomers_Safe_Email.pdf?_ga=2.128105996.1253861871.1649070681-
2123137255.1639662520.
36
  Id. PFOA ECA Plenary Meeting, available at https://static.ewg.org/reports/2020/pfas-firefighter-
timeline/2003-Telomers_Safe_Email.pdf?_ga=2.128105996.1253861871.1649070681-
2123137255.1639662520.

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started this organization two years ago [in 2001], the fate of telomer based AFFF was being tied

directly to the fate of PFOA and the EPA had just told the military to start searching for alternatives

to AFFF.”37 The telomer-based AFFF Defendants had successfully forestalled government

restrictions on their products, thereby prolonging the use of AFFF at WBRA, WSFD, AFD and

CWFD and elsewhere.

        204.    The fluorochemicals the Fluorosurfactant Defendants needed to manufacture those

fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

manufactured, marketed, distributed and/or sold by the Fluorochemical Defendants.

        205.    On information and belief, the Fluorochemical and Fluorosurfactant Defendants

were aware that the fluorochemicals and fluorosurfactants they designed, manufactured, marketed,

distributed, and/or sold would be used in the AFFF products designed, manufactured, marketed,

distributed, and/or sold by the AFFF Defendants.

        206.    On information and belief, the PFC and Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and/or sold the fluorochemicals and/or fluorosurfactants

contained in the AFFF products discharged into the environment during fire protection, training,

and response activities conducted at WBRA, WSFD, AFD and CWFD, resulting in widespread

PFAS contamination.




37
  Id. PFOA ECA Plenary Meeting, available at https://static.ewg.org/reports/2020/pfas-firefighter-
timeline/2003-Telomers_Safe_Email.pdf?_ga=2.128105996.1253861871.1649070681-
2123137255.1639662520.



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       F.        Federal, State, and International Government Agencies Call for Monitoring
                 and Cleanup of PFAS Contamination

       207.      On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

of concern between 2013 and 2015, including PFOS and PFOA.38

       208.      In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

(PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

production and release into the environment of PFOA, called for greater regulation, restrictions,

limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

fluorinated alternatives to these products to avoid long-term harm to human health and the

environment.39

       209.      On May 25, 2016, the EPA released a lifetime health advisory level (HAL) for

drinking water and health effects support documents for PFOS and PFOA.40 The EPA developed

the HAL to assist governmental officials in protecting public health when PFOS and PFOA are

present in drinking water. The EPA HAL identified the concentration of PFOS and PFOA in

drinking water at or below which adverse health effects are not anticipated to occur over a lifetime

of exposure at 0.07 ppb or 70 ppt. The HAL was based on peer-reviewed studies of the effects of

PFOS and PFOA on laboratory animals (rats and mice) and was also informed by epidemiological




38
  Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
Systems, 77 Fed. Reg: 26072 (May 2, 2012).
39
  Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins
C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
perfluoroalkyl      substances    (PFASs).    Environ    Health      Perspect    123:A107–A111;
http://dx.doi.org/10.1289/ehp.1509934.
40
  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

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studies of human populations exposed to PFOS. These studies indicated that exposure to PFOS

and PFOA over the HAL could result in adverse health effects, including:

           a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

               birth weight, accelerated puberty, skeletal variations);

           b. Cancer (testicular and kidney);

           c. Liver effects (tissue damage);

           d. Immune effects (e.g., antibody production and immunity);

           e. Thyroid disease and other effects (e.g., cholesterol changes).

       210.    In 2016, the National Toxicology Program of the United States Department of

Health and Human Services (“NTP”) and the International Agency for Research on Cancer

(“IARC”) both released extensive analyses of the expanding body of research regarding the

adverse effects of fluorochemicals. The NTP concluded that both PFOA and PFOS are “presumed

to be an immune hazard to humans” based on a “consistent pattern of findings” of adverse immune

effects in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure

was associated with suppression of immune responses in animal (toxicology) studies.41

       211.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

observed between exposure to the agent and cancer for which a causal interpretation is . . .

credible.”42


41
  See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph:
Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
2016), at 1, 17, 19, available at
https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
42
  See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
Polymer Manufacture (Dec. 2016), at 27, 97, available at
http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.

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          212.     California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

1986.43

          213.    The United States Senate and House of Representatives passed the National

Defense Authorization Act in November 2017, which included $42 million to remediate

fluorochemical contamination from military bases, as well as devoting $7 million toward the

Investing in Testing Act, which authorizes the Center for Disease Control and Prevention (“CDC”)

to conduct a study into the long-term health effects of PFOA and PFOS exposure.44 The legislation

also required that the Department of Defense submit a report on the status of developing a new

military specification for AFFF that did not contain PFOS or PFOA.45

          214.    In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.46

          215.    In December 2019, the United States Senate and House of Representatives passed

the National Defense Authorization Act for Fiscal Year 2020 (”FY 2020 NDAA”), which

introduced new prohibitions on the use of PFAS-containing AFFF for land-based applications.47


43
  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid
(PFOA) and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at
https://oehha.ca.gov/proposition-65/crnr/chemicals-listed-effective-november-10-2017-known-state-
california-cause.
44
  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available
at https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
45
  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to
Congress, June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-
aqueous-film-forming-foam-report-to-congress/.
46
  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
47
     National Defense Authorization Act for Fiscal Year 2020, S. 1790, 116th Congress (2019), available at
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Section 322 of the Act introduced a timeline for the phasing out of AFFF use by the military,

including by requiring the Secretary of the Navy to publish a new military specification for a

fluorine-free fire-fighting agent for use at all military installations by January 31, 2023. Section

322(b) and (c) then provide that Department of Defense organizations will no longer be authorized

to purchase AFFF containing more than 1 part per billion of PFAS after October 1, 2023, and that

after October 1, 2024, this prohibition will extend to the use of any PFAS-containing AFFF at any

military installation.

        216.     On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”

in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

nationwide.”48

        217.     On June 15, 2022, the EPA released new drinking water health advisory levels

(HALs) for four PFAS, including new interim HALs for PFOS and PFOA that departed

significantly from the 2016 EPA HAL they replaced.49 Specifically, EPA issued HALs of 0.004

ppt for PFOA and 0.02 ppt for PFOS,50 which collectively accounted for only a small fraction of

the combined 70 ppt HAL that preceded them. Importantly, EPA set these interim HALs at levels

below which PFOS and PFOA can be measured using current analytic methods, meaning that the




https://www.govinfo.gov/content/pkg/BILLS-116s1790enr/pdf/BILLS-116s1790enr.pdf.
48
  Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
Feb. 20, 2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-
regulate-pfoa-and-pfos-drinking-water.
49
  See Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for
Four Perfluoroalkyl Substances.
50
  Id. Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for
Four Perfluoroalkyl Substances.

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mere detection of PFOS or PFOA in a water provider’s system would be sufficient on its own to

exceed the new levels.

       218.      As support for its decision, EPA explained that the science had evolved since 2016

and that the new interim HALs for PFOS and PFOA were “based on human studies” that “found

associations between PFOA and/or PFOS exposure and effects on the immune system, the

cardiovascular system, human development (e.g., decreased birth weight), and cancer.”51

Specifically, EPA had performed updated health effects analyses for PFOS and PFOA to provide

support for the drinking water regulations the agency planned to adopt for the two chemicals under

the SDWA. Based on these analyses, EPA concluded that “the levels at which negative health

effects could occur are much lower than previously understood when EPA issued the 2016 health

advisories for PFOA and PFOS – including near zero for certain health effects.”52 For this reason,

the agency determined there was a “pressing need to provide updated information on the current

best available science to public health officials prior to finalization of the health effects

assessment.”53

       219.      Because the referenced health analyses are still undergoing final review by EPA’s

Science Advisory Board, the agency has stated that the new interim HALs for PFOS and PFOA

are subject to change. EPA has indicated, however, that it does not anticipate any changes resulting


51
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Communities at 1-2 (June 2022),
available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-
communities.pdf..
52
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-
factsheet-water-system.pdf.
53
  EPA Office of Water, EPA Doc. No. 822-R-22-003, INTERIM Drinking Water Health Advisory:
Perfluorooctanoic Acid (PFOA) CASRN 335-67-1 at 18 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/interim-pfoa-2022.pdf; EPA Office of Water, EPA
Doc. No. 822-R-22-004, INTERIM Drinking Water Health Advisory: CASRN 1763-23-1 at 18 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/interim-pfos-2022.pdf.

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in revised HALs for PFOS and PFOA that are greater than the 4 ppt minimum reporting level54

that applies to Public Water Systems.55

        220.    On September 6, 2022, EPA published a notice of proposed rulemaking seeking

public comment on its plan to designate PFOS and PFOA as hazardous substances under

CERCLA.56 Pursuant to that notice, all comments from the public must be submitted by November

7, 2022.

        221.    On January 6, 2023, the Defense Logistics Agency within the Department of

Defense published a new Military Specification for “Fire Extinguishing Agent, Fluorine-Free

Foam (F3) Liquid Concentrate, for Land-Based, Fresh Water Application,” MIL-PRF-32725 (“F3

MilSpec”) in accordance with § 332(a)(1) of the FY 2020 NDAA.57 This new specification will

govern fire extinguishing foams used by all Department of Defense organizations and will require

such foams to test “non-detect” for PFAS. The specification further requires manufacturers to

“certify in writing that PFAS has not intentionally been added to the concentrate.”

        G.      Contamination of Plaintiff’s Water System Caused by the Use of AFFF

        222.    Plaintiff is the owner and operator of a water system serving approximately 28,629

residents located in and around the Town of West Springfield, Massachusetts.




54
  As EPA’s website explains, the Minimum Reporting Level (“MRL”) for Unregulated Contaminant
Monitoring Rule (UCMR) 5 is the minimum quantitation level that, with 95 percent confidence, can be
achieved by capable analysts at 75 percent or more of the laboratories using a specified analytical method.
The MRLs in EPA’s chart are based on the UCMR 5 requirement to use EPA Method 533.
55
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-
factsheet-water-system.pdf.
56
 See Designation of Perfluorooctanoic Acid (PFOA) and Perfluorooctanesulfonic Acid (PFOS) as
CERCLA Hazardous Substances, 87 Fed. Reg. 54415 (Sep. 6, 2022).
57
  Available on the Defense Logistics Agency’s website,
https://quicksearch.dla.mil/qsDocDetails.aspx?ident_number=285047.
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       223.    Plaintiff’s system draws the drinking water it provides to customers from four

groundwater wells.

       224.    Plaintiff has detected PFAS in its groundwater wells.

       225.    On information and belief, the PFAS contamination described above is a direct and

proximate result of fire protection, training, and response activities at WBRA, WSFD, AFD and

CWFD, resulting in the migration of PFAS into Plaintiff’s water supply.

       226.    In order to ensure that it can continue to provide clean and safe water to residences,

Plaintiff has and will continue to take actions to address the above contamination of its property

and its potable water supply caused by the Defendants.

       227.    Such actions include but are not limited to additional testing and monitoring for

PFAS; planning, designing, purchasing, installing, and maintaining water filtration systems to

remove these chemicals; infrastructure modifications; contingency planning; and community

outreach.

       228.    Due to the persistent and long-term nature of PFAS contamination, Plaintiff is

expected to suffer damages and incur the costs associated with these and other ongoing necessary

remedial actions for many years to come.

       229.    Through this action, Plaintiff seeks compensatory damages for the harm done to its

property and the costs associated with investigating, remediating, and monitoring its drinking

water supplies contaminated with PFAS due to the use of AFFF at WBRA, WSFD, AFD and

CWFD.




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       H.        AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                 Groundwater

       230.      AFFF containing PFOS and/or PFOA, once it has been released to the environment,

lacks characteristics that would enable identification of the company that manufactured that

particular batch of AFFF or chemical feedstock.

       231.      A subsurface plume, even if it comes from a single location, such as a retention

pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

from different manufacturers.

       232.      Because precise identification of the specific manufacturer of any given

AFFF/Component Product that was a source of the PFAS found at WBRA, WSFD, AFD and

CWFD is nearly impossible, given certain exceptions, Plaintiff must pursue all Defendants, jointly

and severally.

       233.      Defendants are also jointly and severally liable because they conspired to conceal

the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

containing PFOS and PFOA, at Plaintiff's expense, and to attempt to avoid liability.

                 MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                  CONCERT OF ACTION, AND ENTERPRISE LIABILITY

       234.      Defendants in this action are manufacturers that control a substantial share of the

market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

in the United States and are jointly responsible for the contamination of Plaintiff’s property,

including the soil, sediment, surface water, and groundwater. Market share liability attaches to all

Defendants and the liability of each should be assigned according to its percentage of the market

for AFFF/Component Products at issue in this Complaint.

       235.      Because PFAS is fungible, it is impossible to identify the exact Defendant who

manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

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chemical precursors found free in the air, soil or groundwater, and each of these Defendants

participated in a territory-wide and U.S. national market for AFFF/Component Products during

the relevant time.

       236.    Concert of action liability attaches to all Defendants, each of which participated in

a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance

of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

Products containing PFOS, PFOA, and/or their chemical precursors.

       237.    Enterprise liability attaches to all the named Defendants for casting defective

products into the stream of commerce.

                                      CAUSES OF ACTION

                                          COUNT I:
                                      DEFECTIVE DESIGN

       238.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

237 above, and further alleges the following:

       239.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to all persons whom its products might

foreseeably harm, including Plaintiff, and not to market any product which is unreasonably

dangerous in design for its reasonably anticipated use.

       240.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

           a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

               and intended manner;

           b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

           c. PFAS poses significant threats to public health; and

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            d. PFAS create real and potential environmental damage.

        241.       Defendants knew of these risks and failed to use reasonable care in the design of

their AFFF/Component Products.

        242.       AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

danger to the environment and to human health than would be expected by ordinary persons such

as Plaintiff and the general public.

        243.       At all times, Defendants were capable of making AFFF/Component Products that

did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

designs existed which were capable of preventing Plaintiff's injuries.

        244.       The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

precursors far outweigh the products’ utility as a flame-control product.

        245.       The likelihood that Defendants’ AFFF/Component Products would be spilled,

discharged, disposed of, or released into the environment and contaminate Plaintiff’s drinking

water supply far outweighed any burden on Defendants to adopt an alternative design, and

outweighed the adverse effect, if any, of such alternative design on the utility of the product.

        246.       As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

chemical precursors, Plaintiff’s property and water system has become contaminated with PFAS.

        247.       Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s property and water system. Defendants committed

each of the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression,

or malice, and with conscious and/or reckless disregard for Plaintiff's health and safety, and/or

property rights.



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                                            COUNT II:
                                        FAILURE TO WARN

          248.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

247 above, and further alleges the following:

          249.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

products to all persons whom its product might foreseeably harm, including Plaintiff and the

public.

          250.   Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

             a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                 and intended manner;

             b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

             c. PFAS poses significant threats to public health; and

             d. PFAS create real and potential environmental damage.

          251.   Defendants knew of the health and environmental risks associated with their

AFFF/Component Products, and failed to provide a warning that would lead an ordinary

reasonable user or handler of a product to contemplate the dangers associated with their products

or an instruction that would have avoided Plaintiff's injuries.

          252.   Despite Defendants’ knowledge of the environmental and human health hazards

associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

water supplies, including PFAS contamination of public drinking supplies and private wells,

Defendants failed to issue any warnings, instructions, recalls, or advice regarding their

AFFF/Component Products to Plaintiff, governmental agencies or the public.

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        253.    As a direct and proximate result of Defendants’ failure to warn, Plaintiff’s property

and water system has become contaminated with PFAS.

        254.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s property and water system. Defendants committed

each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

oppression, or malice, and with conscious and/or reckless disregard for Plaintiff's health and safety,

and/or property rights.

                                            COUNT III:
                                           NEGLIGENCE

        255.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

254 above, and further alleges the following:

        256.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to Plaintiff and to all persons whom its products

might foreseeably harm and to exercise due care in the formulation, manufacture, sale, labeling,

warning, and use of PFAS-containing AFFF.

        257.    Defendants owed a duty to Plaintiff to act reasonably and not place inherently

dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

water was imminent and certain.

        258.    Defendants knew or should have known that PFAS were leaching from AFFF used

for fire protection, training, and response activities.

        259.    Defendants knew or should have known that PFAS are highly soluble in water,

highly mobile, extremely persistent in the environment, and high likely to contaminate water

supplies if released into the environment.




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       260.   Defendants knew or should have known that the manner in which they were

designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

would result in contamination of Plaintiff’s property and water system with PFAS.

       261.   Despite the fact that Defendants knew or should have known that PFAS are toxic,

can contaminate water resources and are carcinogenic, Defendants negligently:

           a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

              marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

              PFOA, and/or their chemical precursors;

           b. issued deficient instructions on how their AFFF/Component Products should be used

              and disposed of, thereby permitting PFAS to contaminate the groundwater in and

              around Plaintiff’s drinking water supply;

           c. failed to recall and/or warn the users of their AFFF/Component Products of the

              dangers of groundwater contamination as a result of standard use and disposal of their

              products;

           d. failed and refused to issue the appropriate warning and/or recalls to the users of their

              AFFF/Component Products; and

           e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

              correct, or remedy any contamination after it occurred.

       262.   The magnitude of the burden on the Defendants to guard against this foreseeable

harm to Plaintiff was minimal, as the practical consequences of placing this burden on the

Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

warnings about their AFFF/Component Products.




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       263.    As manufacturers, Defendants were in the best position to provide adequate

instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

to take steps to eliminate, correct, or remedy any contamination they caused.

       264.    As a direct and proximate result of Defendants’ negligence, Plaintiff’s property and

water system have become contaminated with PFAS.

       265.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s property and water system. Defendants committed

each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

oppression, or malice, and with conscious and/or reckless disregard for Plaintiff's health and safety,

and/or property rights.

                                            COUNT IV:
                                            TRESPASS

       266.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

265 above, and further alleges the following:

       267.    Plaintiff is the owner, operator, and actual possessor of real property and

improvements used for collecting drinking water.

       268.    Defendants     designed,    manufactured,      distributed,   marketed,    and    sold

AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

PFAS that would migrate into groundwater, causing contamination.

       269.    Defendants negligently, recklessly, and/or intentionally designed, manufactured,

distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

contaminate Plaintiff's property.




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          270.     As a direct and proximate result of Defendants’ trespass, Plaintiff has suffered and

continues to suffer property damage requiring investigation, remediation, and monitoring costs.

          271.     Defendants knew that it was substantially certain that their acts and omissions

described above would threaten public health and cause extensive contamination of property,

including groundwater collected for drinking. Defendants committed each of the above-described

acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

conscious and/or reckless disregard for the health and safety of others, and for Plaintiff's property

rights.

                                    COUNT V:
                 ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

          272.     Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

271 above, and further alleges the following:

          273.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

“Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

assuming significant liabilities (the “Assumed Liabilities”).

          274.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.

          275.     At the time that the Transfers were made and the Liabilities were assumed, and

until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.

          276.     The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

Chemours Co.




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        277.   Plaintiff has been harmed as a result of the conduct of the Fraudulent Transfer

Defendants.

        278.   Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                             COUNT VI:
        CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

        279.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

278 above, and further alleges the following:

        280.   Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

for the Transfers and Assumed Liabilities.

        281.   Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

Co. was made to or for the benefit of DuPont.

        282.   At the time that the Transfers were made and the Assumed Liabilities were assumed,

and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.

        283.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

remaining assets were unreasonably small in relation to its business.

        284.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

Transfers, or became insolvent as a result of the Transfers and its assumption of the Assumed

Liabilities.

        285.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.


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       286.    Plaintiff has been harmed as a result of the Transfers.

       287.    Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                                          COUNT VII:
                                      PUNITIVE DAMAGES

       288.    Plaintiff adopts, realleges, and incorporates each and every allegation in the

paragraphs 1 through 287 above, and further alleges the following:

       289.    Defendants engaged in willful, wanton, malicious, and or/reckless conduct that

caused the foregoing damage upon Plaintiff, disregarding their protected rights.

       290.    Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

released into the environment and inevitably contaminate Plaintiff’s property and water supply.

       291.    Defendants have caused great harm to Plaintiff, acting with implied malice and an

outrageously conscious disregard for Plaintiff's rights and safety, such that the imposition of

punitive damages is warranted.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them, jointly

and severally, and request the following relief from the Court:


           a. compensatory damages according to proof including, but not limited to:

                         i. costs and expenses related to the past, present, and future investigation,
                            sampling, testing, and assessment of the extent to which Plaintiff’s
                            property and water system have been contaminated with PFAS;

                         ii. costs and expenses related to past, present, and future treatment and
                             remediation of the PFAS contamination impacting Plaintiff’s property
                             and water system; and



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                        iii. costs and expenses related to past, present, and future installation and
                             maintenance of filtration systems to assess and evaluate PFAS
                             contamination impacting Plaintiff’s property and water system;

            b. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                wanton, and careless disregard for the health, safety of Plaintiff;

            c. an order for an award of attorney fees and costs, as provided by law;

            d. pre-judgment and post-judgment interest as provided by law;

            e. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                Complaint;

            f. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                wrongful conduct in the future;

            g. an award of consequential damages; and

            h. an order for all such other relief the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, TOWN OF WEST SPRINGFIELD, demands a trial by jury of all issues so triable

as a matter of right.



Dated: New York, New York                           Respectfully submitted,
       June 8, 2023
                                                    NAPOLI SHKOLNIK

                                                    By: /s/ Andrew W. Croner
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